
PER CURIAM
Petitioner passed the Louisiana Bar Examination. Thereafter, petitioner and the Committee on Bar Admissions ("Committee") filed a joint petition seeking petitioner's conditional admission to the practice of law. We denied the petition on the showing made, remanded the matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation, and appointed a commissioner to take character and fitness evidence. Following the proceedings, the commissioner filed his report with this court, recommending that petitioner be conditionally admitted to the practice of law. Neither party objected to this recommendation.
Considering the commissioner's recommendation and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions:
1. Petitioner shall continue to comply with the terms of the monitoring agreement he signed with the Judges and Lawyers Assistance Program ("JLAP") on July 13, 2016.
2. Petitioner shall amend his JLAP agreement to incorporate a requirement that he participate in two years of mental health treatment with a competent medical professional approved by JLAP. Petitioner shall execute a written release with his healthcare provider to allow the submission of quarterly written progress reports to JLAP.
3. The period of this conditional admission shall coincide with the period of petitioner's JLAP agreement. However, petitioner's conditional admission status shall not be terminated until this court so orders.
4. Petitioner shall authorize the Executive Director of JLAP to report any violations of the JLAP agreement to the Office of Disciplinary Counsel ("ODC").
5. Upon the expiration of the term of petitioner's JLAP agreement, the Executive *664Director of JLAP shall forward to the ODC (a) a final report of petitioner's progress and participation in JLAP, and (b) a recommendation regarding the need for petitioner's continued participation in JLAP.
6. Following receipt of the report from JLAP, the ODC shall file a report in this court in which it shall recommend whether the conditional admission shall be allowed to terminate or shall be extended.
7. Petitioner shall cooperate with JLAP and the ODC, and shall comply with any and all requirements imposed upon him by JLAP and the ODC.
Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
